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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK

STEPHEN KERSHNAR,
                                               Case No.: 1:23-cv-00525-LJV
                    Plaintiff,
      v.
STEPHEN H. KOLISON, JR, et al.,
                    Defendants.


                           PLAINTIFF’S WITNESS LIST

      Plaintiff Stephen Kershnar respectfully submits the following list of witnesses

he may call at the evidentiary hearing scheduled to commence on September 13, 2023.

Depending on the evidence presented on behalf of the Defendants, Plaintiff expects

to call the following witnesses:

      1.      J.A. “Tony” Olivo, an expert on security. Olivo is a former member of the

United States Marshals Service elite Special Operations Group and hostage

negotiator. He has extensive experience in working with school districts to provide

risk management. Plaintiff anticipates that Olivo will testify in rebuttal to testimony

and evidence offered by Defendants, with respect to the options available to mitigate

any legitimate public safety concerns.

      2.      John K. Wilson, Ph.D., an expert on academic freedom. Wilson has a

doctoral degree from Illinois State University, where his dissertation addressed the

history of academic freedom in the United States. Wilson was a 2019-2020 fellow of

the University of California’s National Center for Free Speech and Civic Engagement

and frequently writes on matters involving freedom of expression and academic



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freedom in higher education. Plaintiff anticipates that Wilson will testify in rebuttal

to testimony and evidence offered by Defendants, with respect to how the heckler’s

veto poses risks to expressive freedom and how universities respond to threats to

faculty members and other controversial speakers in ways that protect academic and

expressive freedom.



Dated: August 28, 2023                     Respectfully submitted,

                                           /s/ Adam B. Steinbaugh
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